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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION


   UNITED STATES OF AMERICA                               PLAINTIFF/RESPONDENT

   v.               Civil No. 05-5160
                 Criminal No. 04-50015-002

   JOSE MANCILLA-OREGON                                        DEFENDANT/MOVANT


                                      O R D E R

         The court hereby appoints Attorney David Dunagin to represent

   the Movant regarding the motion he has filed under 28 U.S.C.,

   Section 2255.     The court directs the movant’s former attorney in

   this matter, Hugh Jarratt, to furnish Attorney Dunagin any and all

   necessary information regarding the petition.

         SO ORDERED this 24th day of April 2006.



                                              /s/ Beverly Stites Jones
                                              HONORABLE BEVERLY STITES JONES
                                              UNITED STATES MAGISTRATE JUDGE
